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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT
10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,        ) Case No. 2:16-CR-0092 JAM
                                      )
13         Plaintiff,                 )
                                      ) STIPULATION AND ORDER
14                  v.                ) EXONERATING BOND AS TO
                                      ) JUAN CARLOS MONTALBO
15   MARCO ANTONIO RAMIREZ ZUNO       )
     et al.,                          )
16                                    ) Judge: Hon. Deborah Barnes
           Defendants.                )
17                                    )

18
19        It is hereby stipulated and agreed between plaintiff,
20   United States of America, and defendant, Juan Carlos Montalbo,
21   that the bond posted to secure Mr. Montalbo’s pretrial release
22   may be exonerated.     The lien against the real property posted to
23   secure the bond (10106 Caspian Ledge, San Antonio, Texas 78254)
24   may be released and the property reconveyed to the surety.
25        Mr. Montalbo was ordered released on December 15, 2015, on
26   a $100,000 bond secured in part by equity in the above
27   residence.   On May 21, 2019, the Court revoked his release after
28   a contested hearing, and Mr. Montalbo has chosen not to seek

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1    review of that order.     Accordingly, the secured bond may be

2    exonerated and the property reconveyed.

3
4                                      Respectfully Submitted,

5                                      HEATHER E. WILLIAMS
                                       Federal Defender
6
7    Dated:   July 24, 2019            /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
8                                      Assistant Federal Defender
                                       Attorney for JUAN CARLOS MONTALBO
9
10                                     McGREGOR SCOTT
                                       United States Attorney
11
12   Dated:   July 24, 2019            /s/ T. Zindel for M. Morris
                                       MATTHEW G. MORRIS
13                                     Assistant U.S. Attorney

14
15
16                                   O R D E R

17
18        The bond securing release of defendant Juan Carlos Montalbo

19   is hereby exonerated and the Clerk shall release the lien and

20   reconvey the property as set forth above.

21        IT IS SO ORDERED.

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     Dated:   July 24, 2019
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